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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Isabel Rubinas, et al.
                                 Plaintiff,
v.                                                    Case No.: 1:21−cv−00096
                                                      Honorable Edmond E. Chang
Nicolas Maduros, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 11, 2021:


         MINUTE entry before the Honorable Edmond E. Chang: Members of the public
and media will be able to call in to listen to this hearing. The call−in number is (877)
336−1831 and the access code is 1736479. Counsel of record will receive an email before
the start of the telephonic hearing with instructions to join the call. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court issued media credentials, restricted entry to
future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Emailed notice (mw, )




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